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                              IN THE UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF TEXAS
                                        HOUSTON DIVISION

 JENNIFER HARRIS,                                               §
                                                                §
 Plaintiff,                                                     §
                                                                §
 v.                                                             §        CIVIL ACTION NO. 4:21-cv-1651
                                                                §
 FEDEX CORPORATION,                                             §
                                                                §
 Defendant.
                                                                §

                                           EVIDENTIARY APPENDIX


      Defendant FedEx Corporate Services, Inc. files copies of the trial exhibits that were cited in

its Memorandum of Law filed in support of its Motions under Rule 50 and Rule 59, which was

filed at ECF. No. 123-1.

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DATED: January 12, 2023                               Respectfully submitted,
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                                   CERTIFICATE OF SERVICE


        I hereby certify that the foregoing document was filed with the Clerk of the Court using

the CM/ECF system, which will send a copy to all attorneys of record.


                                                s/Barak J. Babcock




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